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     Martin A. Sabelli (SBN 164772)
 1
     Law Offices of Martin A. Sabelli
 2   740 Noe Street
     San Francisco, CA 94114
 3   Tel: (415) 298-8435
     Fax: (415) 520-5810
 4   Email: msabelli@sabellilaw.com
 5
     Richard G. Hullinger (SBN 294025)
 6   Law Office of Richard G. Hullinger
     1000 Brannan Street, Suite 488
 7   San Francisco, CA 94103
     Telephone: (415) 812-1759
 8
     Facsimile: (415) 522-1506
 9   rgh.law@outlook.com

10   Attorneys for Defendant
     HENRY JOVANY SEVILLA
11
12                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
13                               SAN FRANCISCO DIVISION
14   UNITED STATES OF AMERICA,                            Case No. 19-CR-383 CRB
15
                                    Plaintiff,            HENRY SEVILLA’S SENTENCING
16                                                        MEMORANDUM AND MOTION FOR
              v.                                          DOWNWARD VARIANCE
17
     HENRY JOVANY SEVILLA,                                Date: October 7, 2020
18                                                        Time: 1:00 p.m.
19                                  Defendant.            Court: Hon. Charles R. Breyer

20
21
22   I.       INTRODUCTION

23            Henry Sevilla grew up in extreme poverty in the mountains of Honduras. At 18 years he

24   had a baby son and decided to travel North to the United States, despite the well-known risks of

25   the journey, with the hope of supporting his family from afar. Regrettably, Mr. Sevilla did not

26   find steady work here and, even more regrettably, experimented with drugs and became

27   involved as a low-level street dealer (receiving drugs from another street dealer) in the large-

28   scale drug offenses before the Court in this and other related cases.


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 1           In this respect – the context of related prosecutions – Mr. Sevilla played the smallest
 2   possible role: a street-level dealer of the type ordinarily prosecuted in state court. Despite this
 3   limited role, he has been charged federally and, by the time of sentencing, he will have spent 14
 4   months in custody during the pandemic and now faces extended detention in immigration
 5   custody before being deported. These facts – detention during the pandemic and deportation –
 6   should, of course, factor into this Court’s assessment of the severity of the punishment already
 7   imposed.
 8           Based upon Mr. Sevilla’s relatively less-culpable role in the larger drug trafficking
 9   operation, the need to avoid unwarranted sentencing disparities, and the harsh conditions of
10   pretrial confinement, Mr. Sevilla respectfully requests that this Court find that a sentence of
11   time served is sufficient, but not greater than necessary to accomplish the goals of sentencing in
12   this case.
13   II.     STATEMENT OF FACTS
14           On August 6, 2019, federal agents executed a search warrant at 1966 62nd Avenue, in
15   Oakland, California. The search warrant was based upon investigation of codefendant, Arnold
16   Cruz Rodriguez, who is linked to the residence and with Andy Reanos-Moreno and the larger
17   drug trafficking operation. The evidence in the larger case suggested that Cruz Rodriguez
18   obtained drugs from Reanos-Moreno and then provided them to Mr. Sevilla who then sold the
19   drugs in small quantities on the street.
20           When agents arrived at the residence Mr. Sevilla was found and detained. In a bedroom
21   of the residence agents discovered plastic baggies, a digital scale, and approximately 2.245
22   grams of cocaine and 11.668 grams of cocaine base. Indicia in the room and witness statements
23   linked Mr. Sevilla to the room. Agents searched a shed in the yard and discovered an additional
24   141.56 grams of cocaine base. Suspected heroin was also discovered in the shed. Based upon
25   the government’s investigation, Mr. Sevilla was linked to the shed.
26           Mr. Sevilla has entered into a plea agreement with the government and intends to plead
27   guilty to Counts One through Three of the Indictment, Possession with Intent to Distribute
28   Controlled Substances, specifically methamphetamine (Count One), cocaine base (Count Two),


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 1   and cocaine (Count Three) in violation of 21 U.S.C. § 841(a)(1), (b)(1)(C). The plea agreement
 2   provides an Adjusted Offense Level 23.
 3             A Pre-Plea Modified Presentence Investigation report was prepared in this case. The
 4   Report indicates that Mr. Sevilla suffered California Penal Code § 32 felony conviction.
 5   According to the San Francisco Police Report in that case, Mr. Sevilla and another man were
 6   arrested by police in the Tenderloin for selling small bindles of cocaine base. Three Criminal
 7   History points were assigned for this conviction and that Mr. Sevilla was on probation when he
 8   was arrested in this case. Accordingly, Mr. Sevilla is a Criminal History Category II.
 9   III.      MR. SEVILLA’S PERSONAL CHARACTERISTICS AND BACKGROUND
10             A.     MR. SEVILLA GREW UP POOR IN RURAL HONDURAS
11             Henry Sevilla was born to Helario Sevilla (age 53), and Adelina Sevilla (age 53) on July
12   14, 1998, in a small rural town of approximately 200 people in Departamento de Francisco
13   Morazán, in Honduras. Mr. Sevilla has three siblings: Maria De La Cruz Sevilla (age 18),
14   Denia Patricia Sevilla (age 13), and Juan Eduardo Sevilla (age 8).
15             Like many of the people in Mr. Sevilla’s community, his family was poor. His father
16   worked in agriculture and his mother was a homemaker. Mr. Sevilla’s family home had two
17   bedrooms, a small living room, and an outdoor cooking area. The roof of their home was made
18   of hardened dirt and plants that required frequent replacement to prevent rot.
19             In the sixth grade, Mr. Sevilla dropped out of school because his parents could not
20   afford his school supplies, and he began working in construction and in the local fields planting
21   beans, corn, and caring for cattle for the next several years. Although Mr. Sevilla was paid a
22   meager wage, he helped support his family by contributing to the household bills and
23   necessities. However, with only his father and Mr. Sevilla working, the family struggled to
24   meet their basic needs. Had it not been for the tomatoes, potatoes, and fruit that they grew for
25   personal use, they would not have had enough to eat.
26   ///
27   ///
28   ///


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            B.      MR. SEVILLA’S LONG AND DANGEROUS JOURNEY TO THE
 2                  UNITED STATES

 3          The constant struggle of working long arduous hours in the field while barely being able

 4   to survive eventually drove Mr. Sevilla to immigrate to the United States at age 18. By then,

 5   Mr. Sevilla had fathered a son, Eric Isaac Sevilla-Lobo, and was hoping to obtain employment

 6   in the United States to help support his family and child.

 7          Mr. Sevilla’s immigration to the United States through Mexico was a long, dangerous,

 8   and traumatic experience. He endured the worst hunger he had ever experienced, often begging

 9   for food and money from locals to feed himself or pay for a room to sleep in. On most days Mr.

10   Sevilla slept in the street, on trains, or under bridges, and showered when he could at migrant

11   water stations. To travel north, Mr. Sevilla rode atop and inside freight trains that transported

12   products and materials through Mexico. This form of transportation presented deadly risks for

13   Mr. Sevilla and other migrants like himself. The process of climbing onto the trains, holding

14   on, and jumping off them was, obviously, dangerous. On numerous occasions, Mr. Sevilla

15   witnessed the gruesome death of migrants when they fell asleep and accidentally let go of rails

16   and watched in horror as their bodies fell and were instantly dismembered.

17          Along the journey, Mr. Sevilla and others faced extortion, robberies, and assaults by

18   gang members targeting immigrants. Twice, Mr. Sevilla was robbed at gunpoint and forced to

19   give up the money he had earned working along the way. This, along with being hospitalized

20   for appendicitis while in Mexico, held Mr. Sevilla back.

21          C.      MR. SEVILLA ARRIVES IN THE UNITED STATES
22          It took Mr. Sevilla a year to make it across Mexico to the U.S./Mexico border. While

23   trying to cross, Mr. Sevilla was apprehended by Immigration and Customs Enforcement and

24   transferred to the David and Margaret Youth and Family Services Center in La Verne,

25   California, a non-profit organization that houses unaccompanied immigrant minors as well as

26   provides adoptions and foster care services.

27          On September 2, 2018, Mr. Sevilla took an extended walk outside of the facility and

28   ended up lost. He walked hours in search of the center but eventually gave up trying to find it,


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 1   instead making the decision to walk in the direction of Los Angeles, relying on freeway signs
 2   to guide him. Mr. Sevilla embarked on his route to Los Angeles by walking along the highway
 3   and sleeping under bridges. At one point, Mr. Sevilla was stopped and offered a ride by an
 4   ambulance driver who saw him walking along the highway. With the help of the driver, Mr.
 5   Sevilla was able to make it to a gas station where he met a Mexican national who sold flowers.
 6   This individual introduced him to a flower shop owner who gave Mr. Sevilla work for several
 7   days and eventually a ride to San Francisco, California, where he met with a female Honduran
 8   friend of his uncle who offered him a place to stay for several months.
 9           After a few months, Mr. Sevilla was able to get on his feet and moved in with other
10   Honduran nationals. Mr. Sevilla went on to obtain employment at a neighborhood market
11   where he worked approximately one-month cleaning and stocking shelves. However, his
12   employment was cut short when his symptoms of appendicitis resurfaced, and he had to take
13   extended time off. Mr. Sevilla went on to make a living cutting hair, a trade he had taught
14   himself in Honduras practicing on his father and others. Meanwhile, Mr. Sevilla sent money to
15   his family in Honduras to help support his son, parents, and siblings. A stipend they heavily
16   relied on.
17           It was around this time that Mr. Sevilla fell into selling drugs. He was arrested and
18   convicted in San Francisco in December 2018. Less than a year later he was arrested in this
19   case.
20   IV.     ARGUMENT
21           A.     A SENTENCE OF TIME SERVED IS APPROPRIATE IN THIS CASE
22           Consideration of Mr. Sevilla’s (1) relative culpability within the larger drug trafficking
23   operation and the need to avoid unwarranted sentencing disparities, (2) background and age,
24   and (3) the harsh conditions of pretrial confinement all support a downward variance and a
25   sentence of time served (14 months) in this case.
26           B.     APPLICABLE LAW
27           When calculating the appropriate sentence, courts should calculate the applicable
28   Guideline range and “should then consider all of the [18 U.S.C.] § 3553(a) factors. . . .” Gall v.


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 1   United States, 128 S. Ct. 586, 596-597 (2007). The court is free to disagree with the
 2   Guidelines range and stated policy considerations. Kimbrough v. United States, 128 S. Ct. 558
 3   (2007). The guideline range is not presumptively reasonable. Rather, the court “must make an
 4   individualized assessment.” Gall, 128 S. Ct. at 596-597. “While the Guidelines are to be
 5   respectfully considered, they are one factor among the § 3553(a) factors that are to be taken
 6   into account in arriving at an appropriate sentence.” United States v. Carty, 520 F.3d 984 (9th
 7   Cir. 2008) (en banc). This discretion reflects the “federal judicial tradition” that allows “the
 8   sentencing judge to consider every convicted person as an individual and every case as a
 9   unique study in the human failings that sometimes mitigate, sometimes magnify, the crime and
10   the punishment to ensue.” Id. at 598 (citing Koon v. United States, 518 U.S. 81, 113 (1996).
11            “(S)ection 3553(a) authorizes a sentencing judge to consider” the defendant’s specific
12   characteristics, such as “age, education, mental, or emotional condition, medical condition,
13   employment history, lack of guidance as a youth, [and] family ties. . . .” Rita v. United States,
14   551 U.S. 338, 364-365 (2007) (Stevens, J., concurring). In this case, application of the Section
15   3553(a) factors supports a sentence of time served for Mr. Sevilla.
16            1.     Mr. Sevilla Was A Low-Level Street Dealer
17            The evidence suggests that Mr. Sevilla received drugs from another street-level dealer,
18   Cruz Rodriguez.1 In other words, Mr. Sevilla was further down the distribution chain than other
19   alleged street-level dealers. Furthermore, similarly situated codefendants in this case have
20   received sentences approximately equal to the time Mr. Sevilla has already spent in custody.
21
                     Name                     Drug Quantity                        Sentence
22       Allan Josue Funez             1147.69 kg converted drug         15 months imprisonment,
         Osorto                        weight                            3 years supervised
23       (19-CR-381 CRB)                                                 release
         Brayan Martinez               1076.55 kg converted drug         Time-served, 3 years
24
         (19-CR-381 CRB)               weight                            supervised release
25       Jose Franklin                 1076.55 kg Converted drug         12 months, 1-day
         Rodriguez Garcia              weight                            imprisonment, 3 years
26       (19-CR-381 CRB)                                                 supervised release
27
     1
      As provided in the chart included below, Cruz Rodriguez was recently sentenced to time
28   served (13 months) for his role in the drug trafficking organization.

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      Nicolas Soria                     497 g cocaine                    Time-served, 3 years
 1
      (19-CR-381 CRB)                                                    supervised release
 2    Arnold David Cruz                 Between 3,000 kg and             Time-served, 3 years
      Rodriguez                         10,000 kg Converted drug         supervised release
 3    (19-CR-381 CRB)                   weight
 4          Mr. Sevilla does have a recent conviction for drug-related conduct (CHC II), however,
 5   codefendant Allan Josue Funez Osorto, who was sentenced to 15 months in prison for
 6   over 1,000 kg of converted drug weight (or twice the amount attributed to Mr. Sevilla), was
 7   alleged to have had several drug-related arrests, had a firearm in the home, and was apparently
 8   a regular reseller for the drug trafficking organization.
 9          Paradoxically, in this case, the fact of a prior conviction underscores the fact that Mr.
10   Sevilla did not play a significant role in the any conspiracy; rather, the fact that he was
11   convicted as a street-level dealer suggests that he was on the lowest end of the spectrum.
12   Despite the technical impact a prior conviction has on the guidelines, the prior conviction
13   speaks to Mr. Sevilla’s relatively small role in the greater organization. Mr. Sevilla submits that
14   this tension between the facts as they exist in the real world versus how these facts are treated
15   under the guidelines highlights the wisdom of the system of advisory, rather than mandatory,
16   sentencing guidelines.
17          2.      Mr. Sevilla’s Age and Background Support a Downward Variance
18          As provided above, Mr. Sevilla grew up in chronic poverty. His parents and place of
19   birth presented extreme barriers to meaningful opportunities to obtain the type of life many in
20   this country take for granted. Of course, not every immigrant to the United States engages in
21   illegal activity, and Mr. Sevilla takes full responsibility for his conduct, but it does provide
22   context that mitigates the culpability of someone like Mr. Sevilla.
23          Further, Mr. Sevilla is young. He was barely 21 years old when he was arrested in this
24   case. The Supreme Court’s opinions regarding the science of brain development has evolved
25   alongside the scientific research of the young adult brain. See, e.g., Roper v. Simmons, 542 U.S.
26   551 (2005) (regarding the juvenile death penalty) and Graham v. Florida, 560 U.S. 48 (2010)
27   (regarding life without parole for juveniles).
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 1          The Court has recognized the differences between young adults—from mature ones.
 2   The Court has consistently emphasized the tremendous capacity youthful offenders have to
 3   learn, change, and grow. The science embraced by the Supreme Court does not limit these
 4   lessons to only children or adolescents, it extends the lessons to emerging adults into their mid-
 5   twenties who have developing brains and will benefit tremendously from opportunities to grow
 6   and learn. See, e.g., Terry A. Maroney, The False Promise of Adolescent Brain Science in
 7   Juvenile Justice, 85 NOTRE DAME L. REV. 89, 152 (2009).
 8          Thus, the Supreme Court and scientists in the field of adolescent brain development
 9   have acknowledged that people like Mr. Sevilla, a young man in his early twenties, who has
10   experienced a life of chronic poverty and stress has undoubtedly lacked positive development.
11   His impoverished upbringing ultimately drove him to immigrate from his native country to the
12   United States without the proper resources. This experience exacerbated his childhood trauma
13   by separating him from his family, victimizing him at the hands of robbers, and exposing him
14   to the death and serious injury of others. In examining Mr. Sevilla’s social history and age, it is
15   reasonable to believe that his youth and immaturity were unquestionably connected to the
16   commission of the instant offense and should be considered when determining the most
17   appropriate sentence for him.
18          3.      The Conditions of Pretrial Confinement Have Been Particularly Harsh
19          Mr. Sevilla has been in Santa Rita Jail since August 2019. As this Court is well aware,
20   the jail has experienced significant disruption to inmate services. Further, social distancing
21   protocols have meant that inmates are isolated and not permitted in common areas for extended
22   periods of time. Finally, the psychological effect of over six months of fear and uncertainty
23   brought on by the pandemic have taken its toll on Mr. Sevilla. Additionally, further
24   imprisonment is unwarranted given that Mr. Sevilla will in all likelihood be deported back to
25   Honduras after serving his sentence in this case.
26   V.     CONCLUSION
27          The past 14 months have taught Mr. Sevilla that he was heading down the wrong path
28   in life. He has taken responsibility for his conduct and hopes to restart his life in Honduras with


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 1   his son and family. Mr. Sevilla respectfully requests that this Court find that a sentence of time
 2   served is sufficient, but not greater than necessary to accomplish the goals of sentencing and
 3   grant his motion for a downward variance in this case.
 4
 5   Dated: October 2, 2020                        Respectfully Submitted,

 6
                                                   /s/Richard G. Hullinger
 7                                                 MARTÍN A. SABELLI
 8                                                 RICHARD HULLINGER
                                                   Attorneys for Henry Sevilla
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